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.v- 03-10090-01-T

HEATHER M|CHELLE LEE
Agri| R. Goode, FPD
Defense Attorney
200 Jefferson Avenue; Ste. 200
Nlemphis, TN 38103

 

AMENDED JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on September 13, 2004.
Accordingly, the court has adjudicated that the defendant is guilty of the following

offense(s):
Date Offense Count
Title & section Na_wreg_f.§_tf_e_ns Concluded Number(sl
21 U.S.C. § 841 (a)(1) Possession with |ntent to Distribute 09/02/2003 1

Less Than Five (5) Grams
Methamphetamine

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Nlandatory
Victims Restitution Act of 1996

lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district Within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 11/4/1973 Nlay 03, 2005
Deft’s U.S. l\/larshal No.: 19637-076

Defendant’s i\/lailing Address:
Route #1, Box 200-A

159 Little Spring Creek Road
Linden, TN 37096

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J ’ Es o. TODD

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w AUQqu_&, 2005

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Case No: 1:03cr10090-01-T Defendant Name: Heather Michelle Lee Page 2 of 5
|MPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 13 Months.

The Court recommends to the Bureau of Prisons: institution where defendant can
participate in a drug abuse and mental health testing and treatment program. Court also
recommends defendant serve sentence at a minimum security prison.

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES l\/lARSHAL
By:

 

Deputy U.S. lV|arshal

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Case No: 1:03cr10090-01-T Defendant Name: Heather Michelle Lee Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised reiease, the defendant shall not commit another federai, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|SION

1_ The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
empioyment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation ocher to determine the use of any controlled substance;

7. The defendant shall not frequent places Where controlled substances are illegally sold, used,
distributed, or administered;The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation ofticer;

8. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ocher;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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Case No: 1:03cr10090-01-T Defendant Name: Heather N|iche||e Lee Page 4 of 5

10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officer. the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to conhrm the defendants compliance with such
notification requirementl

12. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Crimina| Monetary Penalties sheet of this judgment.

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program of testing and treatment for drug
abuse as directed by the probation officer until such time as the defendant is released from
the program by the probation officer.

2. The defendant shall participate as directed in a program of mental health treatment as
directed by the probation officer until such time as the defendant is released from the
program by the probation officer.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Ai| of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Totai Assessment Totai Fine Totai Restitution

$100.00

The Special Assessment shall be due immediately

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Case No: 1:03cr10090-01-T Defendant Name: Heather Nlichei|e Lee Page 5 of 5

FlNE
No fine imposed
RESTlTUTlON

No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 66 in
case 1:03-CR-10090 Was distributed by faX, mail, or direct printing on
August 3], 2005 to the parties listed.

 

 

April Rose Goode

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

i\/lemphis7 TN 38103

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

